                Case 1:19-cv-02594-RM-SKC Document 187-5 Filed 11/16/20 USDC Colorado Page 1 of 2



FURNITURE INVENTORY LIST:
AS OF 10/14/20

NEW/USED   VENDOR           DATE        TYPE      DESCRIPTION                                  PAID
USED       ARIZONA          1990'S      PICTURE   SUPERBOWL PICTURES (SET OF 3)                        300
USED       ARIZONA          1994        SOFA      GARY & GREEN TWEED LOVESEAT                          100
NEW        FRYS             2010        TV        PANASONIC PLASMA TV (2)@$750                        1500
USED       ARIZONA          1994        TABLE     MAHOGANY PRINTER TABLE                                50
NEW        ARIZONA          2012        CHAIR     BLACK LEATHER OFFICE CHAIR                           100
USED       ARIZONA          1994        CHAIR     MAHOGANY & FABRIC OFFICE CHAIRS (2)@$100             200

USED       ESTATE SALE      2/2016      WASHER    LG TROMM FRONT LOAD WASHER                           250
USED       ESTATE SALE      2/2016      DRYER     LG TROMM FRONT LOAD ELECTRIC DRYER                   250
closeout   ANDERSON         2016        CURIO     PECAN & GLASS CURIO CABINET                          125
closeout   ANDERSON         2016        CURIO     PECAN & GLASS DOUBLE CURIO CABINET                   400
NEW        ANDERSON         2016        TABLE     PECAN BISTRO DINING TABLE                            250
NEW        ANDERSON         2016        CHAIR     BROWN LEATHER PARSON DINING CHAIR (4)@$100           400
NEW        ANDERSON         2016        CHAIR     BROWN LEATHER PARSON BARSTOOL (4)@$100               400
USED       ESTATE SALE         7/8/16   TABLE     LONG WOOD CONSOLE TABLE                              150
USED       GIFT                7/8/16   ARMOIRE   HOOKER BURLWOOD ARMOIRE                                0
NEW        THE DUMP            2/5/16   TABLE     NESTING METAL & STONE TABLES (SET OF 3)              325
NEW        ANDERSON           2/14/16   SOFA      BROWN LEATHER & TWEED SECTIONAL                      725
NEW        B&H              2016        LAMP      COPPER FLOOR LAMP                                     80
NEW        THE DUMP            2/5/16   DRESSER   PECAN DRESSER (2)@$311                               622
NEW        THE DUMP            2/5/16   DRESSER   PECAN CHEST                                          391
USED       ESTATE SALE      2016        TV        SAMSUNG TV (BN59011798)                              100
USED       ESTATE SALE      2016        TV        SAMSUNG TV (BN5901199F)                              100
NEW        THE DUMP            2/5/16   BED       KING SIZE PECAN BED                                  872
NEW        THE DUMP            2/5/16   BED       KING SIZE MATTRESS                                  2499
NEW        HOME GOODS       2016        LAMP      RALPH LAUREN CREAM LAMP (2)@$45                       90
NEW        THE DUMP            2/5/16   CHAIR     BROWN LEATHER ARM CHAIR                             1600
NEW        TARGET             7/16/16   OTTOMAN   BROWN VINYL DOUBLE OTTOMAN                           100
NEW        CRATE/BARREL       2/15/16   TABLE     ROUND WOOD & STONE SIDE TABLES (2)@$60               120
USED       ESTATE SALE      2016        PICTURE   BROWN & TEAL LANDSCAPE WATERCOLOR                    125
              Case 1:19-cv-02594-RM-SKC Document 187-5 Filed 11/16/20 USDC Colorado Page 2 of 2



NEW    B&H           2016        ART            METAL BIRDS                                    80
NEW    THE DUMP         2/5/16   DESK           WOOD EXECUTIVE DESK                           650
NEW    THE DUMP         2/5/16   DESK           WOOD EXECUTIVE CREDENZA                       650
NEW    THE DUMP         2/5/16   FILE CABINET   LATERAL FILE CABINET                          300
NEW    HOME GOODS      4/18/16   LAMP           ACRYLIC LAMP                                   70
USED   ESTATE SALE   2016        DESK           GLASS & METAL ROLLING DESK                     60
USED   ESTATE SALE   2016        CHAIR          BLACK MESH STENO CHAIR                         30
USED   ESTATE SALE   2016        TV             LG TV (AKB72915206)                           100
USED   ESTATE SALE   2016        TV             LG TV (MKJ40653801)                           100
USED   ESTATE SALE      7/8/16   CHAIR          BROWN & BLACK FABRIC PARSON CHAIR (2)@$60     120
USED   ESTATE SALE   2016        LAMP           COOPER FLOOR LAMP                              40
USED   ESTATE SALE   2016        CART           WHITE ELFA CART (2)@$40                        80
USED   ESTATE SALE   2016        SHOE RACK      WHITE MELAMINE SHOE RACK (6)@$5                30
USED   GIFT            7/10/16   POOL TABLE     BRUNSWICK OAK POOL TABLE                        0
USED   ANDERSON      2016        TABLE          PALECEK ROUND SIDE TABLE                      150
USED   ESTATE SALE   2016        COMPONENT      SONY CONTROL CENTER (STRDH800)                 80
USED   ESTATE SALE   2016        COMPONENT      LG BLU RAY PLAYER                              40
USED   ESTATE SALE   2016        COMPONENT      SONY DVD/CD PLAYER (DVPNC80V)                  40
USED   ESTATE SALE   2016        COMPONENT      SONY 5 DISC PLAYER (CDPC70)                    60
USED   ESTATE SALE   2016        COMPONENT      PANASONIC BLU RAY PLAYER                       40
USED   ESTATE SALE   2016        TABLE          MAHOGANY & MARBLE SIDE TABLE (SET OF 2)        60
NEW    HOME GOODS    2016        LAMP           CREAM MOSIAC LAMP                              50
NEW    B&H           2016        TABLE          METAL & GLASS SIDE TABLE (4)@$25              100
USED   ESTATE SALE   2016        PICTURE        FLATIRON BLDG B/W PHOTO FRAMED                 40
NEW    ANDERSON        2/14/16   SOFA           GRAY LEATHER RECLINING SOFA                   400
NEW    ANDERSON        2/14/16   SOFA           GRAY LEATHER RECLINING LOVESEAT               200
NEW    ANDERSON        2/14/16   CHAIR          GRAY LEATHER RECLINING ARM CHAIR              100
NEW    HOME GOODS    2016        PICTURE        NATILUS CANVAS                                 40
NEW    HOME GOODS    2016        PICTURE        NATILUS PHOTO B/W FRAMED                       50
NEW    IKEA            2/15/16   CHAIR          BLACK WOOD BARSTOOL (2)@$50                   100
NEW    TUESDAY AM      4/10/16   PICTURE        BLUE OCEAN PRINT                               60
USED   ESTATE SALE     5/17/16   ART            FREDERICK HART ACRYLIC SCUPLTURE x2         10000

NEW    FRYS           2/25/18 REFRIGERATOR SAMSUNG FRENCH REFRIGERATOR                       3558
